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NA'V'E AND ADDRESS l soc sec # OR FE|N:

NA|V|E ANI) /\DDRESSl

WHERE TO CONTACT

 

Belle Meade Country Club
815 Belle Meade Blvd
Naehville, TN 37205

Troy Cunningham

troy.cunningham@bellemeadecc.Org

work

 

RES|DENCE PHONE (A/C, No)

 

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RES|DENCE PHONE (AlC, No)

 

BUS|NESS PHONE (A/C, No, Exl)

615-312-6412

 

 

WHEN TO CQNTACT
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OCCURRENCE

 

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DESCR|PT|ONOF I\ fOl”mEr €mpl©y€€ haS filed S`Llii
See lawsuit
(See attached Deecrintion cf Occurrence DaQe.)

alleging

attached. NOTE:

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THE INSURED HAS REQUESTED "I`O USE

 

POLlCY lNFORMAT|ON

 

COVERAGE PART OR
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TYPE OF PREN'||SES

 

 

 

 

_PREM|SES: leuREn ls ` j TENANT

owNER'S NAME

& AQDRESS

(ff not insured) OWNERS PHONE
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PRODucTS: lNSuRED rs l l MANUF/\CT\JR&R l l vLNL)<)F< l c)'rleH; TYPE OF PRODUCT

 

I`V'IANUFACTURER'S
NA|V|E & ADDRESS
(If not insured)

 

MANUFACT PHONE
(A/C No Ext):

 

 

WHERE CAN PRODUCT BE SEEN?

 

OTHER L|AB|LH'¥ |N-
CLUD|NG COIV\PLETED
OPERAT|ONS (Exp|ain)

 

lNJURED/PROPERTY DAMAGED

 

Richard Jonee C/O Attny Michael D. Ponce & Aeeocietee

 

 

 

NAME 84 PHONE (A/C, NO, EX!)

ES 1 - _ . _
G.EZE§d/§W, 10 0 0 Jackgon Rd_, euth 225 G@Odlemsvlll@, TN 370'72 615 ~ 85i ~ i776
AGE SEX OCCUPAT'ON EMPLC>YER's PHONE (A/c, No, Ext)

NAN\E &
ADDRESS

 

 

DESCR|BE |NJURY

F/\TALITY

See laweuit

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WHAT WAS lNJURED DDING?

 

 

 

 

 

 

 

 

Laneden Dortch & Davie,

LLP.
(See Attached Remarke Paqe.)

 

Here ie his contact

 

information:

DESCR|BE EST"V‘ATE A'V\OUNT WHERE cAN WHEN cAN PRoPERTv BE sEEN?
PROPERTv PROPERTY
(Typo, modn|, e¢c) BE SEEN?
WlTNESSES

NAME &ADDRESS BuslNEss PHONE (A!c\ No\ E>a; RES|DENCE PHONE (A/c, No)
REMARKS NOTE: THE INSURED HAS REQESTED TO USE DEFENSE ATTORNEY BOB BOSTON @ Wall€]:

 

REPORTED BY RE||°ORT'ED TO

S|GNATURE OF lNSURED

Ineured

 

 

Nicie Bailey

 

SIGNATURE OF PRODUCER

 

 

ACORD 3 (2001/02) l Of 4 #16 91QOTE:HV|PORTANT STATE INFORMAT|ON ON REVERSE SlDE BDB ©ACORD CORPORAT|ON 1986

Case 3:12-cv-00011 Document 1-1 Filed 01/05/12 Page 1 of 29 Page|D #: 5

 

 

 

App|icable in Arizona
For your protection, /\rizona law requires the following statement to appear on this form. /\ny person who know~
ing|y presents a false or fraudulent claim for payment of a loss is subject to criminal and civil penalties,

Applicab|e in Arkansas, District of Co|umbia, Kentucky, Louisiana, l’\llaine, Niichigan, New
Jersey, New lViexico, New York, Pennsyivania and Virginia

Any person who knowingly and with intent to defraud any insurance company or another person, files a state~
ment of claim containing any materially false information, or conceals for the purpose of misleading, informa-
tion concerning any fact, material thereto, commits a fraudulent insurance act, which is a crime, subject to criminal
prosecution and [NY: substantia|] civil penalties in D.C., l\/|E, i-A, and \//\, insurance benefits may also be denied.

App|icab|e in California
Any person who knowingly files a statement of claim containing any false or misleading information is subject
to criminal and civil penalties.

Applicab|e in Colorado
it is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance
company forthe purpose of defrauding or attempting to defraud the company. Pena|ties may include
imprisonment fines, denial of insurance and civil damages Any insurance company or agent of an
insurance company who knowingly provides false, incomplete, or misleading facts or information to a
policy holder or claimant for the purpose of defrauding or attempting to defraud the policy holder or
claimant with regard to a settlement or award payable from insurance proceeds shall be reported to the
Colorado Division of insurance within the Department of Regu|atory Agencies.

App|icable in Florida and idaho
Any person who Knowingly and with the intent to injure, Defraud, or Deceive any insurance Company i:i|es a State~
ment of Claim Containing any Fa|se, incomplete or l\/|is|eading information is Guilty of a i:e|ony.*
* in F|orida ~ Third Degree Fe|ony

Applicabie in Hawaii

For your protection, Hawaii law requires you to be informed that presenting a fraudulent claim for payment of
a loss or benefit is a crime punishable by Hnes or imprisonment , or i)otli.

Applicab|e in indiana
A person who knowingly and with intent to defraud an insurer files a statement of claim containing any false,
incomplete, or misleading information commits a felony.
Applicab|e in l‘l/linnesota
A person who files a claim with intent to defraud or helps commit a fraud against an insurer is guilty of a crime

Applicable in Nevada
Pursuant to NRS 686A.291, any person who knowingly and willfully files a statement of claim that contains
any false, incomplete or misleading information concerning a material fact is guilty of a felony.

Applicab|e in New Hampshire
Any person who, with purpose to iniure, defraud or deceive any insurance company, files a statement of
claim containing any false, incomplete or misleading information is subject to prosecution and punishment
for insurance fraud, as provided in RSA 638:20.

Applicable in Ohio
Any person who, with intent to defraud or knowing that lie/she is facilitating a fraud against an insurer,
submits an application or files a claim containing a false or deceptive statement is guilty of insurance fraud.

Appiicab|e in Oklahoma
VVARN|NG: Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any
claim forthe proceeds of an insurance policy containing any false, incomplete or misleading information is
guilty of a felony.

 

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Case 3:12-cv-00011 Document 1-1 Filed 01/05/12 Page 2 of 29 Page|D #: 6

 

 

DESCR|PTION OF UCCURRENCE (Continued front page 1.)

 

 

BOB
BOSTON @ WALLER LZXNS:)EN DORTCH & DAVIS LAi/\i FIRi\/i AS DEFENSE COUNSEL.

Aivis 3.3(2001/02)3 of 4 ii1691¢t BDB

 

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REMARKS (Continued from page 1)

 

 

Robert E. Boston

Waller Lansden Dortch & Davie, LLP
511 Union Street, Suite 2700
Naehville, TN 37219

Direci; Dial: (615> 850~8953
Facsimile: (615) 244~6804
Email: booston@wallerlaw.com
ANis 3.5 (2001/02)4 ore #16 914 BDB

 

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RiCi-_iA,i;ir) JONES, t ' iit-rr
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v. } Docket No.: i i C/ 451ij
} Jury ])emand (12)
BE_LLE MEADE C()UNTRY CLUB, )
)
Defend:mt. j

tllioi'i'ics now the Plziiriti.t:"t§ R.ii;ziiarrl Joii@s, by and through his undersigned coun:;ci,
and for his complaint against l.')ei"endarit Belic ivicade t:ounti‘y Club, the Piai_nti_t`ii`si.at€es as
t`oliows:

l. Thc Plai;ritit`t`j Richard .lcries, (`_iiereinaftei‘ “Plairitift"’) is a resident and
citizen ot` Nashviiie, Davidson County, tennessee

2. Tl'ie `Det`enclant, Beile Meade Counti'y Ciub, (iierei'nafter “Dci:`endant”) is a

domestic corporation authorized to be and doing bi_isine.~;s in `i\iashvilie, l`)avidson C.ouuty

"l"etincsscc where thc allegations 5th i"ort`li in this complaint occur'rcr;i.
3. .l"urisdiction in this matter is proper because the events giving rise to this

matter took place itt Davidscn Coonty,, Tcrtn.essee, at the Dofcndani.’s facility located at

815 Bcllc i\/icadc Blvd, Nashvilie, TN 3?2@5.

4. The Piaintiff Was hired by the Dei`endant on or about July 7, 2009.
5. On or about December 29, Zf.)it`i, tire Det`endant Empioycr wrongfully and

maliciously temi_inated the Plainti,t`,`.

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ti. ’[`he l‘.)t=:i“`endztnt l§`mployer l:ci'n'iii:iated the Pln.irttiifi“` on Deceml:>et '29, 2010,
for various reasons which were merely o pretext

COUN'I` l
NA'l`IONAL ()Rl`GlN l)[SCRlM`INA'l`ION

7. /\llegations l~o' are hereby incorporated herewith 'l`he Plaiiitiif asserts that
the Dct`endzint discriminated against him in violation ot"`l"`enn,(jode.Ann Sec. 4~21~101 ct
scq., based upon his national origin

8c Begirniing on or about lone l, 2010 and contini.iitig through his
termination on Dece'mbet 29, ZO`lG, the Plziintii`t` weis subjected to hzu‘essment and
discrimination by the EXectitiVe Sous Chei` located at the l)e'fendant’$ facility located on
Bellc hiea<le Boulevai'd, Nztshville, "l`ennessec. Pl’dintifl" ayers this discrimination was due
to Pl€iiritii`t"$ nat'it;iti'<il origin

9. The Plttit'ttit`l` is originally front Australizi and has a Vet'y distinct accent to
his speech

lO` At said dates and tiincs, the Exectiti\/e Sotis Chef at the Defendant’$
facility on Belle Mcade Boulevoi'd, Nashville, Tcnncssee made numerous comments such

as °‘f..l<ing Attsti‘zilian”, “Fosters~evy'illing Atissie hast;ii'd” Land “damn Attssie”,

ll. On numerous occasions thc E>;ectitive Sous C..hct"` inside comments
regarding z\ti:;tz'tilia and its people being tuiteti.ncd, undeveloped and that it is a

backwards n;i"tion.
ll On one occasion, the l’laintil"f accidentally cut himself with a knife the
Exectltive Sous chei` responded with “Don’t get thett thing Australian blood anywhere

near this kitchcn!”

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13, Thc l’l:iintift` avers that lie was not treated the same ns other similarly
situatei:l Americnn co»woi‘l<ei‘s

l4, Oii or about Dece'mher 29, ZOlO, the Plaintit`l" was informed that his
employment was being terminated for “budget rcasons"`.

l5, 'l`he Plaintii"t` asserts that he was treated poorly and received disparate
treatment as compared to foreign employees who were similarly situated

l(:i. Tli.e Plttintii`f asserts that the Delf`endant violated "lenn.Code.Ann § ht~Zl~
drill _, et. seq. and v\/ron;.;;,t`ully discrimin:~ited ogsinst thc Plaintiii`t` on the basis oi` his national
origin

17l 'l"he Pltiintit`i` tiss*rts that there is n causal connection between the
Dct"endont’s poor treatment disparate treatincnt, discrimination and termination and the
Plaintiff’ s national origin

lS. On or about Decem`bcr 29, Zt'llll, the Plaintit`f was informed by the
Dei"endiint’s employees, agents and/or representatives that the reason for his termination
was budget reasons

19 (..)n or about tlzinuary L`;l_, f?.t)ll, the l”li'tin_tit`ili` met with thc l`.)cl`cndzint
Ernployer to further discuss his teirninzition and was int`r.)rnied thin the reason for his
termination was performance needing improvement

204 The Plaintiff would over that the Deli`endant’s reasons for his termination
was pretextual and that furthei", the Pi;iintit`l" was terminated due to his national origin

Zl. At all relevant dates and times as set forth herein, it is averred thzi't:

(a) the Plaintit`t` was subjected to harassment and discriminatory

conduct based on his national orig;i,nj.

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(b) such conduct ot` the Det`eridz»int iimployer was unwelcome;

(e`) such conduct olj` the Deiendnnt weis based on Pl€iinti'i"iis national
orig,iri;

(d) the De'i`endsnt’s conduct was sufficiently severe and/or pervasive
that a reasonable person in Plziint_ift’s position would tind Piainti.t`t”s work environment to
be h<:)s'tile or aliusive;

(e) tit the time such conduct occurred and its s result oi` such oonduet,
the l’l:tintit`i` believed his Worl< environment to l')e hostile or abusive;

(f) Det"endzint knew or should have known of the harassment and

diserim.inzition;
(g) Det`endzmt failed to take prompt and appropriate corrective action

to end the harassment and disorin'iinstion;

(h) the Pls.inti;ti"s national origin was a motivating factor in the
Deliendant’s decision to terminate the Plttintift`j.

(i) the offensive behavior oi" the Defendant was sufficiently severe
and/or pervasive as to alter the conditions of the Plsintift"s employment and Create an
abusive working environtnent; end

(j) y the discrimination from the Det`endsnt was severe end pervasive ss
to create s hostile work environment which affect the terxns, conditions and/or privileges

ol" the Plt-’iintifi"'s employment with the Defendant.

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C©PY

C()UNT ll
NEGLIGEN'I` HIRING, RETENTI()N ANI) SUPERVISON PRACTICES

22_ Allegations l~o are hereby incorporated herewith in‘the alternative the
Plointit`t`nsserts that the Defend:int is guilty ol` negligent hiring7 retention and supervision
pi‘neticesz.

223, At all relevant dozen and tin'ie§i 343 Set forth herein> the Del"endant was
vicariously liable for the actions and inappropriate conduct of the if)ei}`endanl’$
ernployees, agents and representatives because:' (_a') the Det`endant Ernployer did not
exercise reasonable care to promptly correct and prevent the discriminating behavior_; (l,>)
the Delendant did not properly train the l°laintil`i"’£ Stzperyi:=,or, the E)_<ecutive Sous Chei’,
regarding the Del"endnnt Ei'li,{)l<)y'eif’$ policies towards o Worl:place tree of disenniination;
and (e) the De"endant did nor have a viable and reasonable pr<';)cedure and policy in effect
to encourage and promote employees to report discrin'rinotion occurring Within the
Dei"endant’$ Worl<plnee. The Det`endanl had 21 duty to Snperyise its employees and agents

24‘ At the Det`endantis Belle l\/lezide Boulevard, Nashvilie, 'l`ennessee
loenlion, there ayers 21 breach ol" the Del"endnnt’§ duty to Snpei.“vi.:se its employees and
ageintzsv Anioog other einployees, the person who the Det`endzu:it hired for the imperyisor
position participated in the national origin discrimination and retaliatory practiced 'l"he l
Dei"endzint negligently hired and appointed supervisors and mariager$ Who created a
hostile and discriminatory environment in the Plaintil`l"$ place of employmentl

25. 'l"he Det`endant further failed to properly train and Superyise its employees

on preyentirng7 and avoiding discrimination and retaliatory practiced

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26. 'l`lie Dei`endant further tolled to supervise its supervisors_, management and
non-rnz~magement staff and employees to prevent, discover or correct discriminatory
practices that Were taking place

27_ The l)laintii`li sustained an injury as a result of the Det`endant’s negligent
hiring, retention and supervision practices while lie Was under the supervision ot` the
Executive Sous_ Cliei`.

28 ”l`lrere is a proximate causal relationship between the Defendant’s failure
to supervise its employees and the injury sustained by the Plaint'if`l".

29. 'l`he Det`endant has a duty to engage in reasonable care in the hiring,
retention and supervision of its employeesl 'l`he Plaintii`i` submits that the Del`endant
either had knowledge of the sr_ipervisor`s unfitness l`or the supervisory position or should
hoye had knowledge ot` the stipervisor’s untiltness l`or a n'n.inagernent positi<;)n. The
supervisor consistently rendered preterential treatment to Arnerier.rn employees and was
completely insensitive, improper and discriminatory With respect to the treatment ol` other
origins including Australian employees like the Plaintit"i`. Reasonable care, due diligence
and proper management should have revealed the unfitness of the supervisor at the Belle
Meade Boule'vard, Nashyille, Tennessee facility

APPLI(§SABI.iE» T() .ALL (1`()UNTS

3{). Plaint.iff has suffered direct pecuniary losses as a result ol` the Det`endant’s
violations ot` the Tenncssee i-lurnan Rights Act and negligence

31. Plaintit`i` will continue to suffer direct pecuniary losses as a result ot` the
Defendant’s culpable acts or omissions as set forth herein, the Dei`endant‘s violations of

the "l`erinessee llunian R,ights Aet and negligence

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32 Plaintil"t`seel<s a judgment li`or back pay plus interest thereon, the value of
lost en'iployrnent benefits through the date of`.trial plus interest tliereon, front payj expert
witness fees, tittomey"s fees, other litigation expenses and court costs

33. l’laintil"l` Wzis discharged by thc lf.)el"cndant and is entitled to compensation
r`or pnst, present , end future Wages and benefits, incidental damage attorney’s fecs,
compensation i:`or emotional distress, humiliation,'mcntal an,guish, embarrassment, pain
and suffering and other nonpecuniary losses

34 Plaintil`l` further submits that the Del"endant has acted: (a)intcntionally, tb`)
maliciously, or (c`} recklessly in terminating the l’laintil`i` and that the Plaintifl` is entitled
to punitive damages to punish the wrongful discrimination and/or retaliation and to deter
future similar conduct

35. As a result olf` the national origil'i discrimination and Wrongiul terr.n.ination,
the l’laintii`l` has suffered emb:'irrassrncnt and liuniiliation, emotional distress3 incidental
expenses§ lost Wages and loss of earningr capacity

36. As a result of the Det"endant’s culpable acts or omissions as set forth
lierein, the Plain`til`f Was improperly discriminated against and terminated by the
l)el`endant and is entitled to compensation l`or past, present and future Wages and bene"l`its,
incidental damages, compensation for emotional distress, humiliation, mental anguish,
einbarrossment, pain and suffering other nonpecuniary losses, and for punitive damages
‘»'VHERE}_`<`ORE PLAIN'I`IFF PRAYS:

al that service of process be issued to tlic l)el"endant as set t`or`tli lierein;

b) that n jury of twelve (12`) be empanels to try this action;

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c) the Plaiiiiiii`r" be awarded c<_)m,c)en:szii.ory daiimiges in the am<;)uiii 0{"
§1§150,000.(')0 or an am<:»um 10 be deteri'nim:<:i by a jur§/;»

d`) the Piaiiitif"i" be awarded punitive damages in the amount O`i_` $150,000.00
or an amount m be determined by 21 jury;

e) that the Couii award the Piaintifi` attomey’s °ees and costs incurred in
prosecuting this action and Such discretionary coer as pmi/ide under Teimessee law;

_('f) that the C wm award the Pii~lii'itii`i` such other i`ui'thei'j general and different
reii@i`i.<) which he ii'iay be crii:ilied mid punitive <isim_agi:§;;

(g) that Lhi": COSiS 05 this action be taxed zigaiii,$i this Dei"ei.idziiit for Wiiich
execution may iSSLi€; and

(ii`) for general rcii<:i"`.

Respectfuily Submitted_,

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1900 Jz:ickscin Ri)zid, Suite 225
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CIRCUIT COURT SUl\/U\/IONS NASHVIIJLE§~ TENNESSI§E

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sTATE or TENNESSEE § rim ii ' z
DAVn)soN CoUNTY [: Aii s
20m JUDICIAL DISTRICT [:] Phiieisi 956 27 AH 193 03
-~ tai-s;¢i,e;‘z»;;~re~ ettaa
RiCHARD JONES `
Plaimiff Metbod of Service:
|::] Davidson County Sheriff
VS` _ ij Out of Coimty Sherifi"
BELLE MEADE COUNTRY CLUB [::I Secretary of State
Serve through Mery Dehner smith [:] certified Meii
Constangy, Brooks & Smith LLP
SuHTmSt plaza Personal Service
401 Commerce Street, Suite 700 _ _
Neshvilie Tennessee 37219 i:l Commlssloner Of lnsurance
Defendant

To the above named Defendant: 01 \/\// AC [ a

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302, P.O.
BoX 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to tile your defense with the Clerk of the Court and send a copy to the Plaintiff’s
attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the relief

demanded in the complaint
RICHARD R. ROOKER

IssUED: £;.':QQQA Q/`L § 71 90/ ( caeuaceuri Cieri<

DaviW:y/, Tennes/s?
By: \

\/ VW Deputy Clerk

 

ATTORNEY FOR PLAINTIFF Michael Ponce and Associates

 

 

 

°r 1000 Jeeksen Read, sie. 225
Address _
PLAmeF’s ADDRESS Geedieaevine, TN 37072 (615) 351-1776

 

TO THE SH]ERIFF:

Please execute this summons and make your retum hereon as provided by law.

 

 

 

RICHARD R. ROOKER
Circuit Couit Clerk
Received this summons for service this day of ` , 20
SH`ERIFF
If you have a disability and require assistance, please contact
862~5204.
nnn'l 1 nr\r\l lmnr\+ 1 'l l:ilr\r~l n'l lnL-.['l ’) Dr\nn 'l ’.) r\'F ’)O Dr\nr\lr\ -H- 'l 7
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RE'I_`URN ON PERS()NAL SERVICE OF SUMMONS

l hereby certify and return that on the day of , 20 , I:

 

 

 

1 i.'S.ei“i/ed this»suiliiiions and complaint/petition on

 

 

in the following manner:

 

 

 

 

failed to serve this summons within 90 days aher its issuance because

 

 

 

 

Sherift`/Process Server
RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the day of , 20 I scnt, postage prepaid by

 

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the compliant in Docket

 

 

to the defendant, . On the day of
20 , l received the return receipt for said registered or certified mail, which had been signed
by v , on the day of , 20 . Said return

 

 

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Couit Clerk for filing

SWORN TO AND SUBSCRlBED BEFORE ME ON THIS
DAY OF , 20 . PLA.lNTlFF, PLAINT]:FF’S ATTORNEY OR OTHER PERSON
AUTHORlZED BY STATUTE TO SERVE PROCESS

 

 

 

NOTARY PUBLIC or DEPUTY CLERK
MY COMMISSION EXPIRES:

NOTICE
TO THE DEFENDANT(S): g
Teriiiessee law provides a ten thousand dollar ($10,000.00) debtor’s equity interest

personal property exemption from execution or seizure to satisfy a judgment If a judgment AT'I`ACH
should be entered against you iri this action and you wish to claim property as exempt, you

must tile a written list, under oath, of the items you wish to claim as exempt with the clerk of RETURN

the court. The list`may be filed at any time and may be changed by you thereafter as necessary;

however, unless it is filed before the judgment becomes final, it will riot be effective as to any RECEIPT
execution or garnishment issued prior to the filing ofthe list. Certain items are automatically

exempt by law and do not need to be listed; these include items of necessary wearing apparel HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such

apparel, family portraits, the family Bible, and school books. Should any of these items be seized, (IF APPLICABLE)

you would have the right to recover them, lf you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer. »

STATE OF TENNESSEE I, Richard R Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVH)SON do hereby certify this to be a true and correct copy of the original summons issued
in this case. '

RICHARD R. ROOKER, CLERK
(To be completed only if

copy certification required.)
Byr y ~ D.c.

Case 3:12-cV-00011 Document 1-1 Filed 01/05/12 Page 14 of 29 Page|D #: 18

 

 

 

 

 

 

ciRcUir counr sui/nuoNs NAsHvtLLE, TENNESSEE
sTATE or TENNESSEE rim
i)Avn)soN coUNTY [:] Aiies
20'“H JUDICIAL i)isrRic'r [:] Piui~ies
nicHARi) JoNEs `civiL AcrioN
DocKEr No. iic4293
Plaimiff Method of Service:
I:] Davidsen county sheriff
Vs.

BELLE MEADE COUNTRY CLUB

Serve through Mary Dohner Smith
Constangy, Brooks & Smith LLP

SunTrust Plaza

401 Cominerce Street, Suite 700

Nashville Tennessee 37219
Defendant

To the above named Dei`endant:

[:i Out of County Sheriti
|:] Secretary of State

I:] certified Meii
Personal Service

i:] Coinmissioner of Insurance

 

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302, P.O.
Box 196303, Nashville, TN 37219~6303, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to the Plaintiff’s

attorney at the address listed below..

In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the relief

demanded in the complaint

 

 

ATTORNEY FOR PLAINTIFF

OT

 

PLAINTIFF’S ADDRESS

 

RICHARD R.‘ ROOKER
Circuit Court Clerk
David o ty, Tennessee'

By: l A/lr-. ,_,-/
Deputy Clerk

Mi`chael Ponce and Associates

1000 Jackson Road, Ste. 225
Address _
Goodlettsville, TN 37072 (615) 851~1776

 

TO THE SHERIFF:

Please execute this summons and make your retuin hereon as provided by law.

Received'this summons for service this

 

RICHARD R. ROOKER
Circuit Couit Clerk

day of , 20

 

SHERIFF

If you have a disability and require assistance, please contact
862»5204.,

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\./O.DC O.J.L'bV'UUUJ.J.

 

RETURN ON PERSONAL SERVICE OF SUMMONS

l hereby certify and return that on the day of , 20 , l:

 

 

 

served this simmons and complaint/petition on

 

 

in the following manner:

 

 

 

 

failed to serve this summons within 90 days after its issuance because

 

 

 

 

Sheriff/Process Server

RETURN ON SERVICE OF SUMMONS BY MAIL

 

 

 

l hereby certify and return, that on the day of , 20 l sent, postage prepaid by
registered return receipt mail or certified return receipt mail, a ceitified copy of the summons and a copy of the compliant in Docket
to the defendant, . On the day of
20 , l received the return receipt for said registered or certified mail, which had been signed
by on the day of , 20 . Said return

 

 

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing

SWORN TO AND SUBSCRIBED BEPORE ME ON THIS
DAY OF , 20 . PLAlN'l`IFF, PLAlNTIFF’S ATTORNEY OR OTHER PERSON
AU'l`HORlZED BY STATUTE TO SERVE PROCESS

 

 

 

NOTARY PUBLIC or DEPUTY CLERK
MY COMI\/llSSION EXPIRES:

NOTICE
TO THE DEPEN"DANT(S): .
Tennessee law provides a ten thousand dollar ($lO 000 00) debtor’ s equity interest

personal property exemption nom execution or seizure to satisfy a judgment lf a judgment A”I”I`ACH
should be entered against you in this action and you wish to claim property as exempt you

must file a written list, under oath, of the items you wish to claim as exempt with the clerk of RETURN

the court The list may be filed at any time and may be changed by you thereafter as necessaiy;

however unless it is filed before the judgment becomes final, it will not be effective as to any RECEIPT
execution or garnishment issued prior to the filing of the list. Certain items are automatically

exempt by law and do not need to be listed; these include items of necessary wearing apparel HERE
(clot.hing) for yourself and your family and trunks or other receptacles necessary to contain such

apparel, family poitraits, the family Bible, and school books. Should any of these items be seized, (lF APPLICABLE)

you would have the right to recover them lf you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel cfa lawyer.

STATE OF TENNESSEE l, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVlDSON do hereby certify this to be a true and correct copy of the original summons issued
in this case.

RICHARD R. ROOKER1 CLERK

("l`o be completed only if

copy ceitification required.)
By: ‘ D. C.

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IN THE CiRCiUT COURT FOR DAVIDSON COUNi'“~*Y, iiiz;'i~iisir;~~isi'i;i;»jj

  

AT NASHVILLE
am nEc 27 m log m
RICHARD JCNES, ) " ?'§§ §~ §;;g'r;: ge ;i_K
) " ' -~ n
Plaintiff, )
) ____.-E.C.-
v. ) Docket No.:11C4293
) Jury Demand (12)
BELLE MEADE COUNTRY CLUB, )
)
Defendant. )
AMENDED COMPLAINT

 

Comes now the Plaintiff, Richard Jones, by and through his undersigned counsel,
and for his complaint against Defendant Belle Meade Country Club, the Plaintiff states as
follows:

1. The Plaintiff, Richard Jones, (hereinafter “Plaintiff”) is a resident and
citizen of Nashville, Davidson County, Tennessee. \

2. The Defendant, Belle Meade Country Club, (hereinafter “Defendant”) is a
domestic corporation authorized to be and doing business in Nashville, Davidson County
Tennessee where the allegations set forth in this complaint occurred

3. Jurisdiction in this matter is proper because the events giving rise to this
matter took place in Davidson County, Tennessee, at the Defendant’s facility located at
815 Belle Meade Blvd, Nashville, TN 37205.

4. The Plaintiff filed a charge of discrimination with the Equal Employment
Opportunity Commission in a timely manner and was issued arRight to Sue letter on

December 1, 2011, which is attached a Exhibit l to this Amended Complaint. Therefore

the Plaintiff has exhausted his administrative remedies

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5. The Plaintiff was hired by the Defendant on or about July 7, 2009.

6. On or about December 29, 2010, the Def`endant Einployer wrongfully and
maliciously terminated the Plaintiff

7. The Defendant Employer terminated the Plaintiff on December 29, 2010,

for various reasons which were merely a pretext
C()UNT I
NATIONAL ORIGIN DISCRIMINATION UNDER
TITLE VII AND THE TENNESSEE HUMAN RIGHTS ACT

8. Allegations 1-7 are hereby incorporated herewith The Plaintiff asseits that
the Defendant discriminated against him in violation of Title Vll of the Civil Rights Act
of 1964, 42 U.S.C.§ 2000e-5 and the Tennessee Human Right Act pursuant to
Tenn.Code.Ann Sec. 4~21-101 et seq.; Tenn.Code.Ann Sec 4~21~301, et seq., based upon
his national origin.

9. Beginning on or about June 1, 2010 and continuing through his
termination on December 29, 2010, the Plaintiff was subjected to harassment and
discrimination by the Executive Sous Chef located at the Defendant’s facility located on
Belle Meade Boulevard, Nashville, Tennessee. Plaintiff avers this discrimination was due
to Plaintiffs national origin.

10. The Plaintiff is a chef of Australian origin and alienage.

11. Plaintiff has a very distinct accent to his speech.

12. At said dates and times, the Executive Sous Chef at the Defendant’s

facility on Belle Meade Boulevard, Nashville, Tennessee made numerous comments such

as “f..king Australian”, “Fosters-swilling Aussie bastard” and “damn Aussie”.

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13. Gn numerous occasions the Executive Sous Chef made comments
regarding Australia and its people being unrefined, undeveloped and that it is a
backwards nation.

14. On one occasion, the Plaintiff accidentally cut himself with a knife the
Executive Sous chef responded with “Don’t get that f..king Australian blood anywhere
near this kitchen! ”

15. The Plaintiff avers that he was not treated the same as other similarly
situated American co~workers.

16. On or about December 29, 2010, the Plaintiff was informed that his
employment was being terminated for “budget reasons”.

17. _ The Plaintiff asserts that he was treated poorly and received disparate
treatment as compared to foreign employees who were similarly situated

18. The Plaintiff asserts that the Defendant violated Title Vll of the Civil
Rights'Act of 1964, 42 U.S.C. § 2000e-5, and the Tennessee Human Rights Act pursuant
to Tenn.Code.Ann § 4-21-101, et. seq.; Tenn.Code.Ann § 4~21~301, et. seq. and
wrongfully discriminated against the Plaintiff on the basis of his national origin.

19. The Plaintiff asserts that there is a causal connection between the
Defendant’s poor treatment, disparate treatment, discrimination and termination and the
Plaintiff s national origin

20. On or about December 29, 2010, the Plaintiff was informed by the
Defendant’s employees, agents and/or representatives that the reason for his termination

was budget reasons

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21. On or about January 21, 2011, the Plaintiff met with the Defendant
Employer to further discuss his termination and was informed that the reason for his
termination was performance needing improvement

22. The Plaintiff would aver that the Defendant’s reasons for his termination
was pre~textual and that further, the Plaintiff was terminated due to his national origin.

23. At all relevant dates and times as set forth herein, it is averred that:

(a) the Plaintiff was subjected to harassment and discriminatory
conduct based on his national origin;

(b) such conduct of the Defendant Employer was unwelcome;

(c) such conduct of the Defendant was based on Plaintiff s national
origin;

(d) the Defendant’s conduct was sufficiently severe and/or pervasive
that a reasonable person in Plaintiffs position would find Plaintist work environment to
be hostile or abusive;

(e) at the time such conduct occurred and as a result of such conduct,
the Plaintiff believed his work environment to be hostile or abusive;

(f) Defendant knew or should have known of the harassment and
discrimination;

(g) Defendant failed to take prompt and appropriate corrective action
to end the harassment and discrimination;

(h) the Plaintiff s national origin was a motivating factor in the

Defendant’s decision to terminate the Plaintiff;

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(i) the offensive behavior of the Defendant was sufficiently severe
and/or pervasive as to alter the conditions of the Plaintiff’s employment and create an
abusive working environment; and

(j) the discrimination from the Defendant was severe and pervasive as
to create a hostile work environment which affect the terms, conditions and/or privileges
of the Plaintiff’ s employment with the Defendant

COUNT II
DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981

24. Allegations 1»23 are hereby incorporated herewith The Plaintiff further
asserts that the Defendant discriminated against him in violation of 42 U.S.C. § 1981,
based upon his alienage, ancestry, and race.

25. Beginning on or about June l, 2010 and continuing through his
termination on December 29, 2010, the Plaintiff was subjected to harassment and
discrimination by the Executive Sous Chef located at the Defendant’s facility located on
Belle Meade Boulevard, Nashville, Tennessee. Plaintiff avers this discrimination was due
to Plaintiff s alienage, ancestry, and race.

26. The Plaintiff is originally from Australia and is a resident alien.

27. Plaintiff has a very distinct accent to his speech.

28. The Executive Sous Chef Plaintiff worked under is an American
C'aucasian male.

29. At said dates and times5 the Executive Sous Chef at the Defendant’s
facility on Belle Meade Boulevard, Nashville, Tennessee made numerous comments such
as “f..king Australian”, “Fosters-swilling Aussie bastard” and “damn Aussie,” and

emphasized Plaintiff’ s lack of citizenship and ethnic or foreign characteristics

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30. On numerous occasions the Executive Sous Chef made cormnents
regarding Australia and its characteristics, such as its people being unrefined,
undeveloped and that it is a backwards nation.

31. The Plaintiff avers that he was not treated the same as other similarly
situated Amei'ican co-workers.

32. On or about December 29, 2010, the Plaintiff was informed that his
employment was being terminated for “budget reasons”.

33. However, on or about Januaiy 21, 2011, the Plaintiff met with the
Defendant Employer to further discuss his termination and was informed that the reason
for his termination was performance needing improvement as determined by the
Executive Sous Chef.

34. The Plaintiff asserts that he was treated poorly and received disparate
treatment as compared to American employees who were similarly situated

35. The Plaintiff asserts that the Defendant violated 42 U.S.C. § 1981, and
wrongfully terminated the Plaintiff based upon his alienage, ancestry, and/or race.

36. The Plaintiff asserts that there is a causal connection between the
Defendant’s poor treatment, disparate treatment, discrimination and termination and the
Plaintiff s alienage, ancestry and/or ethnicity and race.

37. The Plaintiff would aver that the Defendant’s reasons for his termination
were pre~textual and that further, the Plaintiff was terminated due to the Executive Sous
Chef’s purposeful derogatory treatment of Plaintiff based his alienage, ancestry, race,

and/or national origin.

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38. The Plaintiff performed according to expectations and to the same level as
his American citizen co~workers. The criticisms offered of the Plaintiff were not based
upon merit but rather his alienage, ancestry, race and national origin.

39. At all relevant dates and times as set forth herein, it is averred that:

(a) The Plaintiff is a member of a protected class, being of Australian
origin, ancestry, ethnicity and citizenship, who is in the United States as a resident alien;

(b) The Defendant intended to discriminate against the Plaintiff on the
basis of his alienage, ancestry, and ethnicity;

(c) The discrimination interfered with the Plaintiff`s right to make and
enforce contracts;

(d) Defendant terminated the Plaintiff; and

(e) The Plaintiffs alienage, ancestry or race was a motivating factor in
the Defendant’s decision to temiinate the Plaintiff

40. Plaintiff submits the Defendant’s employees and agents engaged in
intentional discrimination and acted with malice or reckless indifference to the Plaintiff s
federally protected rights Plaintiff contends that the Executive Sous Chef, his
supervisor, engaged in verbally abusive and harassing behavior until he was able to get
Plaintiff terminated based upon intentionally false statements about Plaintiff`s

performance

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COUNT III
NEGLIGENT HIRING, RETENTION AND SUPERVISON PRACTICES

41. Allegations 1~23 are hereby incorporated herewith ln the alternative the
Plaintiff asserts that the Defendant is guilty of negligent hiring, retention and supervision
practices

42. At all relevant dates and times as set forth herein, the Defendant was
vicariously liable for the actions and inappropriate conduct of the Defendant’s
employees, agents and representatives because: (a) the Defendant Employer did not
exercise reasonable care to promptly correct and prevent the discriminating behavior; (b)
the Defendant did not properly train the Plaintiff s supervisor, the Executive Sous Chef,
regarding the Defendant Employer’s policies towards a workplace free of discrimination;
and (c) the Defendant did not have a viable and reasonable procedure and policy in effect
to encourage and promote employees to report discrimination occurring Within the
Defendant’s workplace The Defendant had a duty to supervise its employees and agents

43. At the Defendant’s Belle Meade Boulevard, Nashville, Tennessee
location, there was a breach of the Defendant’s duty to supervise its employees and
agents. Arnong other employees, the person who the Defendant hired for the supervisor
position participated in the national origin discrimination and retaliatory practices The
Defendant negligently hired and appointed supervisors and managers who created a
hostile and discriminatory environment in the Plaintiffs place of employment

44. The Defendant further failed to properly train and supervise its employees

' on preventing and avoiding discrimination and retaliatory practices

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45. The Defendant further failed to supervise its supervisors, management and
non-management staff and employees to prevent, discover or correct discriminatory
practices that were taking place.

46. The Plaintiff sustained an injury as a result of the Defendant’s negligent
hiring, retention and supervision practices while he was under the supervision of the
Executive Sous Chef.

47. There is a proximate causal relationship between the Defendant’s failure
to supervise its employees and the injury sustained by the Plaintiff

48. The Defendant has a duty to engage in reasonable care in the hiring,
retention and supervision of its employees The Plaintiff submits that the Defendant
either had knowledge of the supervisor’s unfitness for the supervisory position or should
have had knowledge of the supervisor’s unfitness for a management position The
supervisor consistently rendered preferential treatment to American employees and was
completely insensitive, improper and discriminatory with respect to the treatment of other
origins including Australian employees like the Plaintiff Reasonable care, due diligence
and proper management should have revealed the unfitness of the supervisor at the Belle
Meade Boulevard, Nashville, Tennessee facility.

APPLICABLE T 0 ALL COUNTS

49. Plaintiff has suffered direct pecuniary losses as a result of the Defendant’s
violations of Title Vll of the Civil Rights Act of 1964, 42 U.S.C. § 2000e~5, and the
Tennessee Human Rights Act pursuant to Tenn.Code.Ann § 4~21-101, et. seq.;

Tenn.Code.Ann § 4~21~301, et. seq. and 42 U.S.C. § 1981 and negligence

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50. Plaintiff will continue to suffer direct pecuniary losses as a result of the
Defendant’s culpable acts or omissions as set forth herein, the Defendant’s violations of
the Title Vll of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5, and the Tennessee
Human Rights Act pursuant to Tenn.Code.Ann § 4-21~101, et. seq.; Tenn.Code.Ann § 4-
21-301, et. seq and 42 U.S.C. § 1981 and negligence

51. Plaintiff seeks a judgment for back pay plus interest ther'eon, the value of
lost employment benefits throuin the date of trial plus interest thereon, front pay, expert
witness fees, attorney’s fees, other litigation expenses and court costs.

52. Plaintiff was discharged by the Defendant and is entitled to compensation
for past, present and future wages and benefits, incidental damage, attorney’s fees,
compensation for emotional distress, humiliation, mental anguish, embarrassment, pain
and suffering and other nonpecuniary losses.

53. Plaintiff further submits that the Defendant has acted: (a) intentionally, (b)
maliciously, or (c) recklessly in terminating the Plaintiff and that the Plaintiff is entitled
to punitive damages to punish the wrongful discrimination and/or retaliation and to deter
future similar conduct

54. As a result of the discrimination and wrongful termination, the Plaintiff
has suffered embarrassment and humiliation, emotional distress, incidental expenses, lost
wages and loss of earning capacity.

55. As a result of the Defendantis culpable acts or omissions as set forth
herein, the Plaintiff was improperly discriminated against and terminated by the

Defendant and is entitled to compensation for past, present and future wages and benefits,

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incidental damages, compensation for emotional distress, humiliation, mental anguish,
embarrassment, pain and suffering, other nonpecuniary losses, and for punitive damages
WHEREFORE PLAINTIFF PRAYS:

a) that service of process be issued to the Defendant as set forth herein;

b) that a jury of twelve (12) be empanels to try this action;

c) the Plaintiff be awarded compensatory damages in the amount of
$150,000.00 or an amount to be determined by ajury;

d) the Plaintiff be awarded punitive damages in the amount of $150,000.00
or an amount to be determined by a jury;

e) that the Court award the Plaintiff attorney’s fees and costs incurred in
prosecuting this action and such discretionary costs as provided under 'l`ennessee law;

(D that the Court award the Plaintiff such other iurther, general and different
relief to which he may be entitled and punitive damages;

(g) that the costs of this action be taxed against the Defendant for which

execution may issue; and

(h) for general relief.

Respectfully submitted,

il limit QGM<

Nina Parsi@y, BPRM 1 s
Michael D. Ponce & Associates
Attorney for Plaintiff

1000 Jackson Road, Suite 225
Goodlettsville, TN 37072
Telephone: (615) 851»1776

 

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NoricE oF RiGi-ir ro SuE (/ssL/Eo on REouEsr)
To: Richard M. Jones From: Nashvil|e Area Offi `
4112 e Nebresi<e Avenue 220 Athens way wl DEC 27 m
Nashviiie, TN 37209 - suite 350 gum m Ql¢
Nasiiviiie, TN 3_7228 _ ,;,,51

On behalf of person(s) aggrieved whose identity is
CONF/DENT/AL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative `l'elephone No.

Marlene W. Dameron,
494-2011~00974 investigator (615) 736-7259
(See also the additional information enclosed with this forrn.)

NoTicE To THE PERsoN AcsRiEveo:

Tit|e Vl| of the Civi| Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetlc information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Tit|e V||, the ADA or GINA based on the above-numbered charge lt has

been issued at your request Your lawsuit under Tit|e Vll, the ADA or GlNA must be filed in a federal or state court WlTHlN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under

state law may be different.)
[:] More than 180 days have passed since the filing of this charge

i:l Less than 180 days have passed since the filing of this charge, but l have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge

13 The EEOC is terminating its processing of this charge

§ The _EEOC will continue to process this charge
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge ln this regard, the paragraph marked below applies to

your case:

[:] The EEOC is closing your oese. Thererore. your iawsuii under the AoEA must be fired in federal or state ooun wirHiN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be |ost.

:] The EEOC is continuing its handling of your ADEA case l»'loweverl if 60 days have passed since the hling of the charge
you may file suit in federal or state court under the ADEA at this time

Equal Pay Act (EPA): You already have the right to sue under the EPA (Hllng an EEOC charge is not required.) EPA suits must be brought

in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 yearsi before you file suit may not be collectible

if you file suit, based on this charge, please send a copy of your court complaint to this office

On behalf of the Commission
/ArL/u//l/)lhw,,// nrc r ~ ziii
d

Enclosures(s) Sarah L Smith (Date Mai/ed)
UArea Office Director

ccc Mary Dohner-Smith Nina H. Parsley
Costangy, Brooks & Smith Michael D. Ponce & Associates, PLLC
401 Commerce Street, Suite 700 - 1000 Jackson Road, Suite 225
SunTrust Plaza Goodlettsvi|le, TN 37072

Nashville, TN 37219

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